   Case 4:19-cv-00413 Document 24 Filed on 03/15/19 in TXSD Page 1 of 1



UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OF TEXAS
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
Carolyn Stone,                                §                                       March 15, 2019
                                              §                                     David J. Bradley, Clerk
                        Plaintiff,            §
                                              §
versus                                        §                      Civil Action H-rg-4r 3
                                              §
Harley Marine Services, Inc., a al.,          §
                                              §
                        Defendants.           §



                                 Order Denying Remand

           Carolyn Stone's motion to remand i!; denied. (s)




           Signed on March       L15 , 2org, at houston, Texas.



                                               ,.~ ~~- L -
                                                         Lynn N. Hules
                                                    United States District]udge
